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     Attorney for Plaintiff
7

8                         UNITED STATES DISTRICT COURT
9
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

10   DANIEL AGUILAR,                    ) Case No. 8:13-cv-00988 DOC (PLA)
                                        )
11
              Plaintiff,                ) NOTICE OF SETTLEMENT
12                                      )
               vs.                      )
13
                                        )
14   VITAL SOLUTIONS, INC; and DOES )
     1 to 20, INCLUSIVE,                )
15
                                        )
16             Defendant.               )
     __________________________________   ________________________________
17
            NOW COMES THE PLAINTIFF by and through his attorney to respectfully
18

19   notify this Honorable Court that this case has settled. Plaintiff requests that this

20   Honorable Court allow sixty (60) days with which to file dispositive documentation. A
21
     Voluntary Dismissal will be forthcoming. This Court shall retain jurisdiction over this
22

23
     matter until fully resolved.

24                 Respectfully submitted this 9th day of September, 2013.
25
                                             By: s/Paul Mankin, IV
26                                              PAUL MANKIN, IV
                                                Law Offices of Paul Mankin, IV
27
                                                Attorney for Plaintiff
28
     Filed electronically on this 9th day of September, 2013, with:


                                         Notice of Settlement - 1
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1

2    United States District Court CM/ECF system

3    Notification sent electronically via the Court’s ECF system to:
4
     Honorable David O. Carter
5    United States District Court
6
     Central District of California

7    J. Grace Felipe, Esq.
8
     CARLSON & MESSER LLP
     Attorney for Defendant
9    This 9th day of September, 2013.
10
     s/Paul Mankin, IV
11   Paul Mankin, IV
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                                         Notice of Settlement - 2
